      Case 16-20584-TPA                    Doc 92 Filed 10/09/19 Entered 10/09/19 17:03:50                                 Desc Ch 7
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Information to identify the case:
Debtor 1              Tonya M. Friend                                                   Social Security number or ITIN        xxx−xx−3139
                      First Name   Middle Name     Last Name                            EIN _ _−_ _ _ _ _ _ _
Debtor 2                                                                                Social Security number or ITIN _ _ _ _
                      First Name   Middle Name     Last Name
(Spouse, if filing)
                                                                                        EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court            WESTERN DISTRICT OF                           Date case filed in chapter 13                2/22/16
PENNSYLVANIA
                                                                                        Date case converted to chapter 7            10/9/19
Case number:          16−20584−TPA


Official Form 309B (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− Proof of Claim Deadline Set                                                                         12/15

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                 About Debtor 1:                                     About Debtor 2:

1.      Debtor's full name                       Tonya M. Friend

2.      All other names used in the
        last 8 years

3.     Address                               1511 Graham Boulevard
                                             Pittsburgh, PA 15235

4.     Debtor's attorney                     Kenneth Steidl                                         Contact phone 412−391−8000
                                             Steidl & Steinberg
       Name and address                      Suite 2830 Gulf Tower                                  Email: julie.steidl@steidl−steinberg.com
                                             707 Grant Street
                                             Pittsburgh, PA 15219

5.     Bankruptcy trustee                    Natalie Lutz Cardiello                                 Contact phone 412−276−4043
                                             107 Huron Drive
       Name and address                      Carnegie, PA 15106                                     Email: ncardiello@comcast.net
                                                                                                               For more information, see page 2 >
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        Case 16-20584-TPA                       Doc 92 Filed 10/09/19 Entered 10/09/19 17:03:50                                              Desc Ch 7
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Debtor Tonya M. Friend                                                                                                          Case number 16−20584−TPA

6. Bankruptcy clerk's office                  U.S. Bankruptcy Court                                            Hours open:
                                              5414 U.S. Steel Tower                                            Mon. − Fri. Pittsburgh Office: 9:00a.m. −
     Documents in this case may be            600 Grant Street                                                 4:30p.m. Erie Office: 9:00a.m. − 4:30p.m.
     filed at this address. You may           Pittsburgh, PA 15219
     inspect all records filed in this case
     at this office or online                                                                                  Contact phone 412−644−2700
     at www.pacer.gov.
                                                                                                               Date: 10/9/19
7. Meeting of creditors                       November 18, 2019 at 09:00 AM                                            Location:

     Debtors must attend the meeting to       The meeting may be continued or adjourned to a later                     Liberty Center, 7th Floor, Room
     be questioned under oath. In a joint     date. If so, the date will be on the court docket.                       740, 1001 Liberty Avenue,
     case, both spouses must attend.
     Creditors may attend, but are not                                                                                 Pittsburgh, PA 15222
     required to do so.

8.                       Presumption of abuse                                        The presumption of abuse does not arise.

                         If the presumption of abuse arises, you may have the
                         right to file a motion to dismiss the case under 11
                         U.S.C. § 707(b). Debtors may rebut the presumption
                         by showing special circumstances.

9. Deadlines                                  File by the deadline to object to discharge or to                         Filing deadline: 1/17/20
                                              challenge whether certain debts are dischargeable:
     The bankruptcy clerk's office must
     receive these documents and any
     required filing fee by the following     You must file a complaint:
     deadlines.
                                              • if you assert that the debtor is not entitled to receive a discharge of any debts under any of the
                                                subdivisions of 11 U.S.C. § 727(a)(2) through (7), or

                                              • if you want to have a debt excepted from discharge under 11 U.S.C § 523(a)(2), (4) or (6).

                                              You must file a motion:
                                              • if you assert that the discharge should be denied under § 727(a)(8) or (9).

                                              Deadline for all creditors to file a proof of claim                       Filing deadline: 12/18/19
                                              (except governmental units):
                                              Deadline for governmental units to file a proof of                        Filing deadline: 8/22/16
                                              claim:

                                              Deadlines for filing proof of claim:
                                              A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be obtained
                                              at www.uscourts.gov or any bankruptcy clerk's office. If you do not file a proof of claim by the deadline, you might
                                              not be paid on your claim. To be paid, you must file a proof of claim even if your claim is listed in the schedules
                                              that the debtor filed.
                                              Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a proof of
                                              claim submits the creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can explain. For
                                              example, a secured creditor who files a proof of claim may surrender important nonmonetary rights, including the
                                              right to a jury trial.


                                              Deadline to object to exemptions:                                         Filing deadline: 30 days after the
                                              The law permits debtors to keep certain property as exempt. If you        conclusion of the meeting of creditors
                                              believe that the law does not authorize an exemption claimed, you
                                              may file an objection.

10. Creditors with a foreign                   If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
    address                                    asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                               United States bankruptcy law if you have any questions about your rights in this case.
11. Liquidation of the debtor's                The bankruptcy trustee listed on the front of this notice will collect and sell the debtor's
    property and payment of                    property that is not exempt. If the trustee can collect enough money, creditors may be paid
    creditors' claims                          some or all of the debts owed to them in the order specified by the Bankruptcy Code. To
                                               ensure you receive any share of that money, you must file a proof of claim as described
                                               above.
12. Exempt property                            The law allows debtors to keep certain property as exempt. Fully exempt property will not be
                                               sold and distributed to creditors. Debtors must file a list of property claimed as exempt. You
                                               may inspect that list at the bankruptcy clerk's office or online at www.pacer.gov. If you
                                               believe that the law does not authorize an exemption that the debtors claim, you may file an
                                               objection. The bankruptcy clerk's office must receive the objection by the deadline to object
                                               to exemptions in line 9.
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